         Case 01-01139-AMC     Doc 22766-2       Filed 08/13/09     Page 1 of 2




 INDEX OF EXHIBITS CITED IN THE PLAN PROPONENTS' MOTION IN LIMINE
  TO EXCLUDE EXPERT TESTIMONY OF ALAN WHITEHOUSE, M.D., ARTHUR
      FRANK, M.D., CRAIG MOLGAARD, PH.D.,AND TERRY SPEAR, PH.D.

EXHIBIT NO.     DATE                                DOCUMENT

     1        12/23/2008 Expert Report of Dr. Arthur Frank

     2        5/18/2009   Sur-rebuttal Report of Dr. Craig Molgaard (Epidemiology)

     3        12/29/2008 Expert Report of Dr. Terry Spear

     4        6/15/2005   General Affidavit of Dr. Alan C. Whitehouse

     5        12/29/2008 Expert Report of Dr. Alan Whitehouse

     6        3/19/2009   Videotaped Deposition of Alan C. Whitehouse

     7        6/16/2009   Videotaped Deposition Upon Oral Examination of Alan C.
                          Whitehouse, M.D.

     8         6/5/2009   Deposition of Arthur L. Frank, M.D., Ph.D.

     9        6/25/2009   Videotaped Deposition of Craig Molgaard, Ph.D.

    10        7/29/2009   Videotaped Deposition of Terry M. Spear, Ph.D.

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    12          2004      ATS, Diagnosis and Initial Management of Nonmalignant
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    13          3/4/09    United States v. W.R. Grace, Trial Transcript, Vol. 7

    14         4/6/2009   Rebuttal Report of Suresh H. Moolgavkar, M.D., Ph.D.

    15         5/16/09    Sur-rebuttal and Supplemental Expert Report by Dr. Alan
                          Whitehouse

    16         4/6/2009   Rebuttal Expert Report of Dr. Howard Ory

    17         10/18/07   Videotaped Deposition of Alan C. Whitehouse, M.D.
         Case 01-01139-AMC     Doc 22766-2      Filed 08/13/09     Page 2 of 2




EXHIBIT NO.     DATE                                DOCUMENT

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    19         12/23/08   Expert Report of Laura S. Welch, M.D., F.A.C.P, F.A.C.O.E.M.

    20         12/29/08   Rebuttal Report of Daniel A. Henry, M.D. in Response to Expert
                          Report of Alan C. Whitehouse

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    23           1991     R. Lilis et al., Pulmonary Function and Pleural Fibrosis:
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    24           1999     R. Fraser et al., 4 Fraser & Pare’s Diagnosis of Diseases of the
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    25        5/15/2009   Response of Dr. Frank and Dr. Whitehouse to Grace’s Dr. J.
                          Parker Report

    26        5/15/2009   Response of Dr. Frank and Dr. Whitehouse to Grace’s Dr. D.
                          Weill Report

    27        5/15/2009   Response of Dr. Frank and Dr. Whitehouse to Report of the
                          ACC’s Dr. L. Welch, March 2009

    28        7/10/2009   Supplemental Expert Report of Dr. Craig Molgaard




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